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 8
                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10
11
     KRYSTAL VENTURES, LLC,                      CASE NO. 2:20-cv-09315
12
                  Plaintiff,                     Assigned to
13
           vs.                                   COMPLAINT FOR BREACH OF
14                                               CONTRACT, FRAUD, UNJUST
     GENTRY BEACH,                               ENRICHMENT
15
                  Defendant.
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                                          COMPLAINT
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 1                                   INTRODUCTION
 2        1.     This claim arises out of Gentry Beach’s (“Beach”) fraudulent
 3 misrepresentation that he would repay Plaintiff Krystal Ventures, LLC (“Krystal
 4 Ventures”) the money it loaned him for his purchase of Personal Protective
 5 Equipment (“PPE”) from Korea within 48 hours of that loan being made. Rather
 6 than timely repaying Krystal Ventures, Beach has refused to repay the sum he owes
 7 until after he has made a profit from selling the PPE. In hindsight, Beach’s
 8 fraudulent scheme appears to have been part of a concerted effort to engage in naked
 9 COVID-19 profiteering—buying up stock of valuable PPE that was desperately
10 needed in the United States as it suffered from the ravages of the pandemic raging
11 across the country and using that desperation to turn a profit.
12        2.     The facts that Beach committed the fraud against Krystal Ventures,
13 refused to use his own money to finance the purchase of the PPE, and that
14 commercial invoices for the PPE were forged with Krystal Ventures’ signature
15 indicate that Beach intended to hide his role in the purchase and sale of the PPE.
16 These facts, combined with Beach’s repeated touting of his close relationship with
17 President Trump and his strong support for President Trump’s re-election bid, in
18 both national media and in the parties’ negotiations, suggests that Beach’s profits
19 from the sale of the PPE may be directed towards that re-election effort or other
20 nefarious ends. Regardless of Beach’s use of the proceeds, Beach’s representation
21 that the loan would be repaid within 48 hours was fraudulent and Krystal Ventures
22 is entitled to damages.
23                            JURISDICTION AND VENUE
24        3.     Diversity jurisdiction exists pursuant to 28 U.S.C. § 1332. There is
25 complete diversity of citizenship because Krystal Ventures is incorporated in
26 California and has its principal place of business in California, and Defendant is a
27 resident of Texas. The amount in controversy, exclusive of interest and costs,
28 exceeds the sum or value of $75,000.

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 1         4.    Personal jurisdiction exists over Defendant in this district because he
 2 intentionally directed his activities into this jurisdiction by entering into the
 3 commercial agreement with Krystal Ventures that is the subject of this action.
 4         5.    Venue is proper in this Court because a substantial part of the events or
 5 omissions giving rise to the claim asserted in this action occurred in this district. 28
 6 U.S.C. § 1391(b)(2).
 7                                STATEMENT OF FACTS
 8         6.    In May 2020, Beach directed his agent Rick Kofoed (“Kofoed”) to
 9 contact the principal of Krystal Ventures, Dan Kang (“Kang”), with a business
10 proposal. Under that proposal, which Kofoed stated to Kang orally, Krystal
11 Ventures would advance $1,000,000 (the “Loan”) on Beach’s behalf to a company
12 called SOG Trading, Ltd., a Hong Kong based trader. That sum would pay for the
13 purchase of hundreds of thousands of items of PPE, specifically face masks. Beach
14 would take delivery of the PPE and repay the Loan within 48 hours of Krystal
15 Ventures paying SOG Trading, Ltd.
16         7.    As evidence of Beach’s good faith, reputation as a businessman, and
17 ability to sell the PPE, Beach and Kofoed repeatedly touted Beach’s close personal
18 relationships with President Trump, Donald Trump Jr. (who he said was his college
19 roommate), and others within the Trump family and Republican Party. They also
20 repeatedly referenced Beach’s role as a fundraiser and financial supporter of
21 President Trump’s 2016 and 2020 election bids as evidence of his connections and
22 reputation.
23         8.    Kang, on behalf of Krystal Ventures, orally agreed to the proposal.
24         9.    On May 6, 2020, Beach sent Kofoed the invoice from SOG Trading
25 that Krystal Ventures was to pay. Exhibit A. Kofoed sent that invoice along to
26 Kang. Id. In accordance with the parties’ agreement, that same day Krystal
27 Ventures paid SOG Trading Ltd. $1,000,000 for the PPE. Exhibit B.
28         10.   Contrary to the parties’ agreement, Beach did not repay the Loan

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 1 within 2 days.
 2        11.    After Beach defaulted, Kang repeatedly demanded of Beach that the
 3 Loan be repaid. On May 14, 2020, for example, Kang demanded via text message
 4 the immediate repayment of the Loan. Beach did not repay the Loan, but did not
 5 dispute that he was obligated to do so and that his payment was late. Instead, he
 6 stated that he was close to selling the PPE and that he would be able to repay
 7 Krystal Ventures when he had done so.
 8        12.    Kang continued to chase Beach for the repayment of the Loan,
 9 including in telephone calls on May 15 and May 23. On each occasion, Beach did
10 not dispute that he was obligated to repay the Loan and had not done so in
11 accordance with the parties’ agreement, but said he was unable to repay it until after
12 he had sold the PPE.
13        13.    The parties never agreed that the Loan would not be repayable until
14 after Beach had sold the PPE. Further, Beach had never disclosed that he would be
15 unable to repay the Loan until after he had sold the PPE. Had either of those
16 situations occurred, Krystal Ventures would not have agreed to extend the Loan to
17 Beach. Krystal Ventures did not want to risk its money on the chance that Beach
18 would be successful in his gamble at reselling the PPE in the United States, and it
19 was not compensated for that risk.
20        14.    Following sustained pressure from Kang, on June 1, 2020 Beach repaid
21 Krystal Ventures $200,000 of the $1,000,000 Loan from a bank account he shares
22 with his wife, Kathryn Munson. Exhibit C. Beach continued to state, however, that
23 he could not and would not repay the remaining $800,000 until after he had sold the
24 PPE. In an apparent gambit to delay Krystal Ventures, Beach began repeatedly
25 claiming that his sale of the PPE was imminent and that the remainder of the Loan
26 would shortly be repaid. For example:
27        •      On or around June 11, 2020, Beach messaged Kang stating “Looks like
28               I have sold the 1mm [items of PPE] today. Docs in process.” When

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 1               Kang asked if that meant payment would be forthcoming, Beach
 2               replied on June 15, 2020 “I’m expecting payment by late today and will
 3               send to you the moment it comes to me.”
 4        •      When payment did not arrive, Kang again asked for an update. On
 5               June 19, 2020, Beach again stated “I’m expecting the wire to hit my
 6               acct anytime and will turn around to you same day.”
 7        •      When payment still had not come by June 22, 2020, Kang followed up
 8               again. Again, Beach stated “I’m expecting wire to hit my acct any time
 9               now. As soon as it does it is coming to you.”
10 That payment never arrived.
11        15.    Kang continued to chase Beach. In September 2020, Beach confirmed
12 on several telephone calls with Kang that the Loan was his and that it was past due.
13 Beach again claimed he lacked the funds to repay his debt and demanded more time
14 to pay, but made several partial payments amounting to $37,500, again from his
15 personal bank account he shares with his wife. He has not identified when, or even
16 if, he will able to repay the balance. As of the date of filing, $762,500 of the
17 $1,000,000 Loan to Beach remains outstanding.
18        16.    Further, when the PPE arrived in the United States, Kang was sent a
19 series of commercial invoices relating to that PPE and to other PPE Beach had
20 acquired samples of. Those commercial invoices all identified Krystal Ventures as
21 the importer and contained a signature purportedly on Krystal Ventures’ behalf.
22 Since Krystal Ventures was not the importer—Beach was—and since Kang is the
23 only individual with authority to sign on behalf of Krystal Ventures and the
24 signature was not his, those signatures were fraudulent. Since the PPE was
25 imported for Beach, it appears that Beach was responsible for that fraud and it was
26 committed in order to support his fraudulent actions with respect to the Loan and to
27 hide his involvement in the purchase, import, and sale of the PPE.
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 1                   FIRST CLAIM FOR BREACH OF CONTRACT
 2          17.   Krystal Ventures repeats and re-alleges paragraphs 1 through 16 of this
 3 Complaint.
 4          18.   In accordance with the parties’ agreement, on May 6, 2020 Krystal
 5 Ventures paid SOG Trading Ltd. $1,000,000. It informed Beach of that payment the
 6 same day.
 7          19.   Under the parties’ agreement, Beach was obligated to repay Krystal
 8 Ventures the $1,000,000 Loan within two days of that sum being paid to SOG
 9 Trading, Ltd.
10          20.   In breach of his obligations, Beach failed to repay the Loan within two
11 days. He still owes $762,500 of the original Loan value.
12          21.   Krystal Ventures has suffered and will continue to suffer harm as a
13 result of this breach. Krystal Ventures seeks damages in an amount to be
14 determined at trial, including the repayment of the principal, as well as interest and
15 costs.
16          SECOND CLAIM FOR FRAUDULENT MISREPRESENTATION
17          22.   Krystal Ventures repeats and re-alleges paragraphs 1 through 21 of this
18 Complaint.
19          23.   Beach willfully and intentionally engaged in fraudulent
20 misrepresentation by representing to Krystal Ventures that he would repay the Loan
21 within two days while in fact intending not to repay the Loan, either at all or not
22 before he had sold the PPE.
23          24.   As Beach intended, Krystal Ventures relied on that fraudulent
24 misrepresentation to advance on Beach’s behalf $1,000,000 to SOG Trading Ltd.
25          25.   As a result of this fraudulent misrepresentation, Krystal Ventures has
26 suffered and will continue to suffer harm. Krystal Ventures seeks damages in an
27 amount to be determined at trial, inclusive of statutory interest and costs.
28          26.   Beach committed the acts alleged herein maliciously, fraudulently,

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 1 oppressively, and with the wrongful intention of harming Krystal Ventures in a
 2 conscious disregard of its rights. Krystal Ventures is thus entitled to recover
 3 punitive damages from Beach in an amount according to proof.
 4         THIRD CLAIM FOR UNJUST ENRICHMENT/RESTITUTION
 5        27.    Krystal Ventures repeats and re-alleges paragraphs 1 through 26 of this
 6 Complaint.
 7        28.    Through his actions in refusing to repay the Loan to Krystal Ventures
 8 until after he has re-sold the PPE, Beach has shifted from himself to Krystal
 9 Ventures the risk that he is unable to sell the PPE he purchased. Put simply, rather
10 than speculating with his own money, he has instead speculated with Krystal
11 Ventures’ money.
12        29.    Under principles of equity and justice, Beach should not be permitted
13 to profit from his own breach of contract and/or fraud by retaining for himself any
14 profits from his sale of the PPE. All such profits would unjustly enrich Beach at
15 Krystal Ventures’ cost.
16        30.    Accordingly, Krystal Ventures seeks damages in the form of unjust
17 enrichment/restitution in an amount to be determined at trial.
18                                PRAYER FOR RELIEF
19        WHEREFORE, Plaintiff Krystal Ventures requests judgment against Beach
20 as follows:
21        A.     General and special damages according to proof;
22        B.     Exemplary and/or punitive damages according to proof;
23        C.     All equitable relief deemed just, including an accounting of all profits
24               earned and/or received by Beach from the sale of the PPE;
25        D.     An award to Plaintiff of their fees, costs, and expenses incurred in this
26               action; and
27        E.     Any and all other relief this Court deems just and proper.
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 1                                 DEMAND FOR JURY TRIAL
 2         In accordance with Rule 38 of the Federal Rules of Civil Procedure, Krystal
 3 Ventures respectfully demands a jury trial of all issues triable to a jury in this action.
 4
     DATED: October 9, 2020                 Ekwan E. Rhow
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 8
 9                                          By:
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                                                  Attorneys for Krystal Ventures, LLC
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